case 6:17-_cr-06039-DGL-Jv\/F Documem 35 i=iled 10/31/18 Page 1 of false 1 Of 1

Re: US v. Jerabecl<, et al. PSR
J ames Nobles

to:
Paula_Rand
10/30/2018 09:44 AM

 

ludge Larimer, ' ~

I have spoken With all defense counsel. Given our conference and your email, all defense counsel agree
that We Will withdraw our remaining objections to the PSR. We Would like to reserve the right to give
explanations of our clients conduct or positions to certain relevant paragraphs contained in the PSR..
Obviously that Would require that I amend Mr. Jerabeck’s as it has already been filed. Defense counsel
Would collectively request that We given 3 Weeks to tile our sentencing memorandums and that our
clients sentencing be scheduled there after. Would this proposal be acceptable to the Court? I have
spoken to AUSA Resnick and he has no objection to this proposal

' Respectfully,

J ames Nobles

2

On Oct 26, 2018, at 3:23 PM, Paula Rand@nvwd.uscoarts.gov Wrote:

 

Counsel »~

The Probation Department will got submit a new PSR. The 0ctober 15, 2018 PSR is the
operative document l've adjourned, without date, the November lst hearing, but l would like to
know within the next several days as to how defendants wish to proceed

Judge Larimer

Jarnes Nobles, Esq.
45 ~EXchange Blvd
Suite 275 '
RochesterJ NY 14614
(585) 546-1260

tile :///C:/Users/PRand/ADDDataLocal/Temp/notesFl 00B4/~Web5 093 .htcn ` 10/31/2018

